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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-53 (CJN)
                                              :
EDWARD JACOB LANG,                            :
                                              :
                       Defendant.             :


                            GOVERNMENT’S STATUS REPORT

       The United States of America, through undersigned counsel, respectfully submits this

status report in advance of trial in this case, now scheduled to commence September 9, 2024. In

its Scheduling Order dated January 23, 2024 (ECF 124), the Court directed the parties to file a

Joint Pretrial Statement containing the following on or before August 12, 2024: (a) a neutral

statement of the case; (b) proposed voir dire questions; (c) proposed jury instructions; and (d) a

proposed verdict form.

       On August 25, 2023, pursuant to an earlier Scheduling Order, ECF 118, the parties filed

(a) a neutral statement of the case, (b) proposed voir dire instructions, (c) proposed jury

instructions, and (d) a proposed verdict form. The Government respectfully re-submits, without

alteration, the parties’ prior joint submissions for the neutral statement of the case and voir dire

instructions. ECF 119-1 and ECF 119-2.

       The government submits the attached (c) proposed jury instructions and (d) proposed

verdict form. Both have been revised since the versions filed in August 2023 to reflect anticipated

changes to the indictment and, with respect to the proposed jury instructions, changes in relevant

case law and instructions relevant to lesser-included offenses. As of filing, the government has not

yet learned the defense position on the revised version of the jury instructions.
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                               Respectfully submitted,

                               MATTHEW M. GRAVES
                               United States Attorney
                               D.C. Bar No. 481052

                         By:    s/Karen Rochlin
                               Karen Rochlin
                               Assistant United States Attorney Detailee
                               DC Bar No. 394447
                               99 N.E. 4th Street
                               Miami, Florida 33132
                               (786) 972-9045
                               Karen.Rochlin@usdoj.gov

                         By:    s/Craig Estes
                               Craig Estes
                               Assistant United States Attorney Detailee
                               MA BBO No. 670370
                               1 Courthouse Way
                               Boston, MA 02210
                               (617) 748-3605
                               Craig.Estes@usdoj.gov




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